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             EXHIBIT 4
               Case 1:01-cv-12257-PBS Document 7552-4 Filed 05/20/11 Page 2 of 8


Mentzer, Stefan
From:                   Mentzer, Stefan
Sent:                   Wednesday, April 06, 2011 11:56 AM
To:                     'Gretchen Wallace'
Cc:                     Audette, Danielle; Cohen, Daniel; Daniel.Lake
Subject:                United States ex rel. Ven-A-Care of the Florida Keys v. Actavis Mid Atlantic LLC - Civil Action
                        No. 08-10852-PBS
Attachments:            smm- (VAC) list of proposed search terms for florida.DOC


Gretchen,

To follow up on our conversation yesterday, it is our understanding that Florida has
collected a folder of relevant portions of the Medicaid state plans and amendments (including
some but not all correspondence with CMS). Also, in connection with the pending state case,
Florida has developed a database containing the documents of a number of custodians (I think
you mentioned twenty or so, including Jerry Wells) who are likely to have documents
responsive to the subpoena.

We propose the following:

1.       Please produce a copy of the folder described above this week.

2.    I am attaching a list of search terms that we are asking Florida to run for all
custodians and all time periods in the document database described above. Please let me know
the number of documents that result from each of these search terms and the expected time
frame for producing these documents. Alternatively, has the state completed a privilege
review of its entire document database? If so, then we ask that the state simply produce the
database in its entirety.

3.    At this time, we are not asking the state to search for documents outside of items 1
and 2 described above. We reserve the right to request additional documents upon receipt and
review of the state's production.

As discussed, the state will provide us with an estimate of the cost of producing these
documents. However, as I mentioned, Sandoz does not agree to pay for the costs or expenses
associated with the state's production of documents responsive to the subpoena. There is no
requirement under the federal rules that a requesting party reimburse a subpoenaed party's
expenses, and moreover as reflected in my March 24 letter, Sandoz has made substantial good-
faith efforts to review the prior productions made by Florida and to narrow the scope of the
documents being requested under the subpoena. In addition, the state appears already to have
done most of the legwork in collecting responsive documents for purposes of its state action,
and the additional burden of running search terms and producing documents responsive to the
subpoena is minimal.

I am happy to discuss these issues further if you have any questions or comments.                        Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com
                                                        1
            Case 1:01-cv-12257-PBS Document 7552-4 Filed 05/20/11 Page 3 of 8




-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 01, 2011 4:27 PM
To: Mentzer, Stefan
Cc: Cohen, Daniel; Daniel.Lake; Audette, Danielle
Subject: RE: Sandoz subpoena - Letter from Stefan Mentzer

I will call you at 10 est on Tuesday. In case you need it, my direct line
is 850 414 3911. Thanks.
Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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material from any computer.



From: "Mentzer, Stefan" <smentzer@ny.whitecase.com>
To:   "Gretchen Wallace" <Gretchen.Wallace@myfloridalegal.com>
Cc:   "Daniel.Lake" <Daniel.Lake@ahca.myflorida.com>, "Audette,
            Danielle" <daudette@ny.whitecase.com>, "Cohen, Daniel"
            <daniel.cohen@ny.whitecase.com>
Date: 04/01/2011 04:24 PM
Subject:    RE: Sandoz subpoena - Letter from Stefan Mentzer



I am available at 10:00 am on Tuesday -- please let me know if that works
for
you. The number to call is 212 819 8705. Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com



                                              2
            Case 1:01-cv-12257-PBS Document 7552-4 Filed 05/20/11 Page 4 of 8

-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 01, 2011 4:21 PM
To: Mentzer, Stefan
Cc: Daniel.Lake; Audette, Danielle
Subject: RE: Sandoz subpoena - Letter from Stefan Mentzer

Monday is not good for me, but anytime Tuesday except for 3:p.m.-3:30 p.m.
is fine. Just give me a number to call. Thanks.
Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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From:        "Mentzer, Stefan" <smentzer@ny.whitecase.com>
To:          "Gretchen Wallace" <Gretchen.Wallace@myfloridalegal.com>
Cc:          "Daniel.Lake" <Daniel.Lake@ahca.myflorida.com>, "Audette,
            Danielle" <daudette@ny.whitecase.com>
Date:        04/01/2011 04:14 PM
Subject:            RE: Sandoz subpoena - Letter from Stefan Mentzer



Gretchen,

Please let me know if you are available for a telephone conference on
Monday
to discuss the issues related to the subpoena. Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com



-----Original Message-----
                                              3
             Case 1:01-cv-12257-PBS Document 7552-4 Filed 05/20/11 Page 5 of 8
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 01, 2011 4:10 PM
To: Audette, Danielle
Cc: Daniel.Lake; Mentzer, Stefan
Subject: Re: Sandoz subpoena - Letter from Stefan Mentzer

Dear Ms. Audette and Mr. Mentzer:

Attached is our reply to Mr. Mentzer's letter dated March 24, 2011.

Sincerely,

Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com


(See attached file: 11-04-01WallaceLtr.Mentzer.pdf)



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From:                      "Audette, Danielle" <daudette@ny.whitecase.com>
To:                        "Gretchen Wallace"
<Gretchen.Wallace@myfloridalegal.com>,
            "Daniel.Lake" <Daniel.Lake@ahca.myflorida.com>
Cc:                        "Mentzer, Stefan" <smentzer@ny.whitecase.com>
Date:                      03/24/2011 03:10 PM
Subject:                         Sandoz subpoena - Letter from Stefan
Mentzer



Counsel,

Please see the attached letter from Stefan Mentzer.

Regards,
Dani Audette
Associate
Commercial Litigation Practice
White & Case LLP
1155 Avenue of the Americas
                                              4
            Case 1:01-cv-12257-PBS Document 7552-4 Filed 05/20/11 Page 6 of 8
New York, NY 10036
(212) 819-8902
daudette@whitecase.com


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(See attached file: 3-24-2011 Sandoz Ltr to FL.pdf)



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correspondence to me via email may be subject to disclosure.

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hours of 9:30am - 5:30pm (EST). Any other time please call (212) 819-7664.
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                  List of proposed search terms for the Florida production in
      United States ex rel. Ven-A-Care of the Florida Keys v. Actavis Mid Atlantic LLC -
                                Civil Action No. 08-10852-PBS1

1.        “State Plan”
2.        SPA
3.        4.19B
4.        4.19-B
5.        4.19(b)
6.        “Estimated Acquisition Cost”
7.        EAC
8.        “Average Wholesale Price”
9.        AWP
10.       “Wholesale Acquisition Cost”
11.       WAC
12.       “Average Manufacturer Price"
13.       AMP
14.       pharmac! /5 reimb!
15.       “reimbursement for drugs”
16.       acqui! /5 cost!
17.       nondiscounted /5 AWP
18.       unmodified /5 AWP
19.       “Centers for Medicare and Medicaid Services”
20.       CMS
21.       “Health Care Financing Administration”
22.       HCFA
23.       Abt
24.       “Myers & Stauffer”
25.       “Myers and Stauffer”
26.       M&S
27.       “Provider Synergies”

1
 Sandoz proposes this list in connection with its third-party subpoena served on Florida in the above-referenced
action. This is not an exhaustive list of all search terms likely to find documents responsive to the subpoena in this
case or relevant documents in any other pending case. This list is without prejudice to Sandoz, and Sandoz
expressly reserves all its rights and remedies.




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